is-Rshigits, B E Page 1 Of 27 cesesa Page it

Sent bytE TERRY my : > :
|  Post-lt™ brand fax transmittal memo 7671 [+otpages » 3

[Poin Sasi Frm E. “ER@4
oO, * . Co. “

Case 04-03774 Doc 42-9 Filed 02/21/06 Entered 02/21/06 16:44:14 Desc Exhibit

Dept Phone #
Foxe Face
MEMORANDUM

TO : Rollin Soskin, Atty

FROM: Engene Terry, 450 Central Ave #214, Highland Park, II]. 60035-2659 USA.
Tel 847-266-1032 Fax 847-266-1034

SUBJECT: Kids Count Proposal

Date ; November 16, 1998

1) Nicole and I have reviewed our meetings with Vicki and you, the business plan, the
various products and the 6 month cash projections. We propose the following investment
and it’s conditions, subject to satisfactory answers to the questions designated by letter
paragraphs A+ which follows our proposal.

2) We will invest $200,000 to $250,000, as December thru February 1999’s cash flow
Shall require. For tax reasons | explained to you I would hope that a portion of the
investment would be thru Terry’s Company, Inc.which would secure the “Inventory” and
sell it to Kids Count (KC) as is ordered by them. The price would be a sum that gives us a
10% PA return on the investment. The balance of the investment would be aloanat
10%PA interest. We will need a UCC filing. The purpose of our investment is to fund
the commercials, purchase of time and required inventory. The operational expenses for
November should come out of the A/R for Noveinber.

3) Ihave modified the 6 month cash flow to which I hope we will all agree . [have added
a $21,000 per month cash expenditure for the service (West) which will handle the calls,
(7000 units x $3.) . [have reduced Rollins expense to a retainer of $2,000 per month and
Vicki’s salary trom $15,000 to $12,000 per month. In November I have reduced the cost
of the commercial to $80,000 and added $17,000 to December as the cost to “tweek” the
commercial]. The main purpose of our investment is to generate long term working
capital for the company. After 6 months we should agree to another 6 month plan based .
Upon experience not mere projections. Our program should be to build a company with
multiple products selling into and thru various markets that shows a positive cash flow
after supporting development of new products. Remember that if we adopt a program to
reduce the million +/- debt over 5 years, that will drain $200,000 + interest per year. It
will be tough to build up sizeable working capital

4) In return for our investment we will heed a 5 year option to purchase 10% of the
issued and outstanding shares of the Corporation or Partnership, if that is the entity you
decide upon, for $250,000, We can pay this by cash and /or cancellation of our loan.
Should Vicki at anytime decide to dispose of her shares so that she no longer has control

"GLICO

Case 04-03774 Doc 42-9 Filed 02/21/06 Entered 02/21/06 16:44:14 Desc Exhibit
is-sbItS Re E Page, 2,06 e4Leei10345 rage 2

Sent bytE& TERRY

(50+2%) she should agree to a “piggy back” for us.

6) We recognize you as the attomey for Vicki and KC and we will handle, at our
expense, any of our legal work.

7) This proposal contemplates many legal documents which can be drafted and

negotiated after January 30, 1999 when we both have more accurate facts and figures

since the commercials will have run, We are willing to deposit the money and make the

investment before all the documents are executed, Since the Xmas season is aproaching
time is of the essence. However our time table to complete them should be by February

28,

These are the questions we have:

A) The 6 month cash flow contemplates a total of 30,000 payment on loans. Isn’t there a
$25,000 payment due on one of the loans, in addition to the $30,000?

B) Has Vicki reviewed the 6 month cash flow and does it make sense to here?

C) The Balance Sheet shows Inventory. Is this finished goods, do you have a list or
breakdown?

D) B/S shows Equipment. Is this only the computers or what other assets?
E) What is the Fiscal Year?
F) B/S shows “accrued payables” Is this accrued interest? What is it?
G) In regard to the Long Term Debt on the B/S can you outline the general |
terms,conditions,and if the debit is against a note or document, and of course, is on
demand”

1) Jim Terra, $75,000.

2) Harris Bank $150,000
3) Ist Nat Bank $74,000
4) Hudsuckers $325,000

5) Vicki $200,000

—CSIEL
Case 04-03774 Doc 42-9 Filed 02/21/06 Entered 02/21/06 16:44:14 Desc Exhibit
is-RxUbits By E Page 3,062 bccrosas rage 34?

Sent bytE TERRY

6) Fells Good $50,000

H) Stockholders; Please list who they are and what they own. On the B/S it shows
Vicki,Bob Leeper, Kids Count and Steve Santowski.

D Directors: Who are they and how many are required?
J) Officers; Who are they and do they have salary contracts or what do they draw? -

K) P/L shows “Bad Debt” . What is this?

L) Insurance. What do they have how, including medical, life etc.

M) P/L shows “placement fee”. What is this?

N) In the P/L I do not see tech Support at $2000 per month. Where is it?
O) P/L shows “interest expense” at $1900 per month. Who gets this and on which loans?
Hope all the above is clear. a

Aa pn. A

6 Month Cash Flow Encl.

 CSLER
Case 04-03774 Doc 42-9 Filed 02/21/06 Entered 02/21/06 16:44:14 Desc Exhibit
Exhibits B-E Page 4 of 27

LAW OFFICES OF
ROLLIN J. SOSKIN & ASSOCIATES
9933 Lawler Avenue, Suite 312
Skokie, Illinois 60077-3703
Fax: (847) 674-8938
Phone: (847) 329-9991

TELECOMMUNICATIONS COVER SHEET

TO: ‘Eugene & Nicole Vicki & Bob

FAX NO.:____ (847) 266- 1034 (847) 550-8061
FROM: Rollin J. Soskin
FAX NO.: (847) 674-8938 _ NUMBER OF PAGES

INCLUDING COVER SHEET: 5

CLIENT: DATE: 11/18/98

ADDITIONAL COMMENTS:
Gene, Nicole, Vicki & Bob:

Following is a draft of the Memorandum | have © prepared. Any suggestions,
changes, etc.?

IF ANY DIFFICULTY IS EXPERIENCED WITH THIS
TRANSMISSION, PLEASE CONTACT OUR OFFICE AT
(847) 329-9991.

PLEASE DELIVER IMMEDIATELY!
THE PAGES COMPRISING THIS FACSIMILE TRANSMISSION CONTAIN
CONFIDENTIAL INFORMATION. THIS INFORMATION IS INTENDED SOLELY FOR
USE BY THE INDIVIDUAL OR ENTITY NAMED AS THE RECIPIENT HEREOF. IF
YOU ARE NOT THE INTENDED RECIPIENT, BE AWARE THAT ANY DISCLOSURE,
COPYING, DISTRIBUTION, OR USE OF THE CONTENTS OF THIS TRANSMISSION
IS PROHIBITED. IF YOU HAVE RECEIVED THIS TRANSMISSION IN ERROR,
PLEASE NOTIFY US BY TELEPHONE IMMEDIATELY SO WE MAY ARRANGE TO
RETRIEVE THIS TRANSMISSION AT NO COST TO YOU.

. 6:44:14 Desc Exhibit
Case 04-03774 Doc 42-9 Filed 02/21/06 Entered 02/21/06 1 |
Exhibits B-E Page 5 of 27

MEMORANDUM OF AGREEMENT

Vicki Esralew, Robert Aren (hereinafter collectively referred to as "Esralew),
Eugene Terry, Nicole Terry and Terry's Company, Inc. (hereinafter collectively referred -
to as "Terry"), Rollin J. Soskin (hereinafter referred to as "Soskin"), and Kids Count
Entertainment, Inc. and Kids Count Entertainment, L.L.C. (hereinafter collectively
referred to as "Kids Count") have agreed as follows:

1. Terry will invest $200,000 to $250,000 as December, 1998 through
February, 1999 cash flow shall require. Terry's Company, Inc. will purchase the - ~~
inventory and sell it to Kids Count as ordered, at a price that provides a 10% per —
annum return on the funds invested in inventory. The balance-of the investment by’
‘Terry will be a loan to Kids Count at the rate of 10% interest. A financing statement
will be filed with the Secretary of State in order to provide protection under the
Uniform Commercial Code with respect to Terry's investment, secured by the assets of
Kids Count. The primary purpose of Terry's investment is to fund creation of

. commercials, purchase of air time and manufacture of required inventory.

2. In addition to the investment described in paragraph 1, Terry will deposit
the sum of $27,000 into a bank account in the name of Kids Count. This portion of
Terry's investment (the "receivable loan") is in the form of a purchase from Kids Count
of certain receivables due from Discovery Toys - $12,855 scheduled to be received ine
December), and $14,145 of the $18,000 scheduled to be received in February.
Immediately upon receipt, the instruments of payment of such amounts, or any portion
thereof, shall be immediately turned over to Terry without deposit by Kids Count.

3. A new bank account at Lasalle Bank Shail be created in the name of
Kids Count Entertainment, L.L.C. into which Terry shall deposit the- receivable loan:
and that portion of his investment which will be treated as a loan to the Kids Count.
Disbursements from such account shall be made only upon two signatures as follows:
one signature to be either Eugene Terry, Nicole Terry, or Rollin J. Soskin; and one
Signature-to be either, Vicki Esralew or Robert Aren. .

4. It is anticipated that the receivable loan from Terry and collections from
December sales will be sufficient to cover overhead. From such amounts, Esralew
Shall be entitled to withdraw from the Kids Count a sum not to exceed $12,000 per
month, which may be taken, in Esralew's sole discretion, as salary or repayment of the
loans to Kids Count previously made by Esralew or Aren, or in any combination
thereof, provided that the total of gross compensation and loan repayment shall not
exceed $12,000 per month.

—ecse9
16:44:14 Desc Exhibit
04-03774 Doc 42-9 Filed 02/21/06 Entered 02/21/06
case Of Exhibits B-E Page 6 of 27

?

MEMORANDUM OF AGREEMENT - page 2

5. From the receivable loan and subsequent sales, Kids Count shall pay to
Soskin a sum not to exceed $4,000 per month which Soskin may have paid as salary
or as legal fees to his law firm, in his sole discretion. To the extent not taken in a
particular month, the sums payable to Esralew and Soskin shall accrue and be
payable, if and when cash flow allows.

6. As part of the consideration for Terry's loan, Terry shall have a five (5)
year option to purchase ten (1 0%) percent of Kids Count Entertainment, L.L.C. for a -
price of $250,000. This sum may be paid by cash and/or cancellation of the Terry's
loans to the company. For this purpose, the unpaid portion of-Terry's investment in
inventory may be treated as: part of Terry's loan upon transfer: of any unpurchased .-
inventory to the Kids Count. ,

7. As part of the consideration to Terry and to Soskin, Soskin shall receive
one (1%) percent interest in the Kids Count Entertainment, L.L.C. and’shall have an
. Option to purchase eight (8%) percent of Kids Count Entertainment, L.L.C. for the sum
of $200,000.

8. In addition to the interest and the option granted to Soskin above,. Soskin
Shall receive a one (1%) percent interest as incentive and in lieu of fees for services to
Kids Count, whether as attorney, employee, or otherwise, in ‘excess of the agreed
upon $4,000 per month set forth in paragraph 5 above, for the period from December
1, 1998 through such time_as the salaries and compensation of Esralew and Soskin -
are reviewed, based upon company performance, but in no event shall such period of
‘free excess services by Soskin extend beyond May 31, 1999. ©

9. It is agreed that any of the following actions shall require the unanimous
consent of Esralew, Terry and Soskin:

(a) incurring of any new debt beyond normal trade payables;
(b). issuance of any new stock or security or other interest convertible
_in to an ownership interest in Kids Count;

(c) sale or transfer of any interest in Kids Count owned by Esralew o
Aren to anyone other than Esralew, Aren, Soskin or Terry or to
Kids Count, without first offering such interest to Terry and Soskin
upon the same terms and conditions as are offerred by any
proposed transferee.

10. In the event of any sale or transfer by Kids Count or Esralew of any
_ Shares in Kids Count Entertainment, Inc. or Kids Count Entertainment, L.L.C., which
results in Esralew owning less than 51% of Kids Count, Terry and Soskin shall have
the right to "tag along" on a pro-rata basis at a price equal to the price at which
Esralew's shares or interest are sold.
21/06 16:44:14 Desc Exhibit
-03774 Doc 42-9 Filed 02/21/06 Entered 02/
case Of Exhibits B-E Page 7 of 27

to

MEMORANDUM OF AGREEMENT - page 3

11. Each party hereto has made such investigation of the facts and
circumstances and the condition of Kids Count and of the other parties, and has
engaged such attorneys, accountants, or other professionals as they have determined
in their own discretion to be necessary or prudent in the circumstances. Esralew,
Terry, and Kids Count all hereby waive any actual or apparent conflict of interest _
resulting from the participation of Soskin in bringing Esralew, Aren and Kids Count
together with the Terrys, or from the services of Soskin to, by or in regard to Kids

Count, Terry and Esralew, or any of them, and from the representations made by any
of the partiews hereto to the others in order to induce them to enter into this
agreement, and after due consideration, the parties agree.to hold Soskin harmless

_ and idemnified against any and.all loss, cost and damages, including reasonable
attorney's fees, resulting from any claims that Soskin represented one party or the
other or was subject to a conflict of interest as between any of the parties to this
agreemeni, or that any party made any material misrepresentation with respect tothe ..-
transactions herein contemplated. 2 ce

12. The parties agree to meet not less often than every fourteen (14) days to —
review sales, inventory levels, cash position and other data relevant to Kids Count.

13. The parties agree that because time is short and the investment of Terry » ~
is essential to Kids Count's chances of success, in large part as a result of the desire
to have commercials on the air-in time to take advantage of the Christmas gift season,

- this transaction is being documented by this simple memorandum rather than by all of

_ the legal documents: which this agreement contemplates. The parties agree to enter
into shareholder's agreements, option agreements, and other contracts and legal
documents as may be necessary, containing the provisions which are set forth herein
(in addition to any other items as to which the parties may agree). Thé parties agree
to attempt to complete all such documentation by February 28, 1999.

14. The parties agree that the operating agreement of the limited liability
company shall also be amended to reflect the provisions hereof, and it is agreed that
Soskin, Esralew, Aren, and either of the Terrys shall be directors of Kids Count. In
the event-that Robert Leiper should be made a director, both of the Terrys shall be. «
directors.

—O3L71
06 16:44:14 Desc Exhibit
04-03774 Doc 42-9 - Filed 02/21/06 Entered 02/21/
case Exhibits B-E Page 8 of 27

MEMORANDUM OF AGREEMENT - page 4

15. Acceptance by Esralew, Aren and Kids Count of the benefit of the
services of Soskin and/or of the deposit of funds and/or the receipt of other benefits
from Terry shall constitute acceptance of all of the foregoing terms.

WHEREFORE, the parties have set their hands this day of November,

1998.
Kids Count Entertainment, Inc. Kids Count Entertainment, L.L.C.
By: _ By:
Vicki Esralew, President - Vicki Esralew, Manager
Vicki Esralew Robert Aren
Eugene Terry Ce . Nicole Terry
Rollin J. Soskin_

' CgLv2
Case 04-03774 Doc 42-9

F ‘

. HP OfficeJet
- Personal Printer/Fax/Copier

Filed 02/21/06 Entered 02/21/06 16:44:14 Desc Exhibit
Exhibits B-E Page 9 of 27

Fax Log Report

Nov-18-98 07:16 PM

Identification

5508061 _

esult Pages Type Date Time Duration Diagnostic

' OK 05 Sent Nov-18 07:13P 00:02:45 002586030022

120 28
Case 04-03774 Doc 42-9 Filed 02/21/06 Entered 02/21/06 16:44:14 Desc Exhibit

Exhibits B- E Page 10 of 27
_ HP Officede .
. Personal Printer/Fax/Copier Fax Log Report
Nov-18-98 07:13 PM
Identificati
enttticatton Result Pages Type Date ‘Time —_ Duration Diagnostic
2661034
OK 05 Sent Nov-18 07:10P 00:02:39 002586030022

120 28
Filed 02/21/06 Entered 02/21/06 16:44:14 Desc Exhibit

se 04-03774 Doc 42-9
Case . , Exhibits B-E Page 11 of 27

November 19, 1998

To: Rollin
Fr: Vicki & Bob
Re: T.T.D.

Hi Rollin,
Here’s a brief list of what we need:

1. Take care of West (the info | faxed to you this morning and afternoon) —-
* Application, all information os
¢ Find out about any/all info (i.e., download, batch information)
¢ We must do this Friday or we will miss our w/o:Deec. 7 air date — they need
2 weeks

2. LaSalle Bank — please fax to Jennifer Merlin (Vice President, Private Banking)
312-904-6253 (fax) and FEDEX necessary info to arrive on Monday
e Please finish filling out info . o
* Need to get signature cards in and decide who can sign — we'll need to cut a
check for the commercial early next week. .
* Be in touch with Jennifer Merlin 312-904-6309 re: Qpt- Te 4 bar Fret
* setting up account o39 :
* merchant card (2.40% - West may have companies with lower Credit
Card %) OO

Kids Count’s FEIN# 364143446000

Sales Tax# 2828-3872

Thanks! Please advise us on questions and completion.... Will be in office all day
tomorrow.

COLTS |
) d 02/21/06 16:44:14 - Desc Exhibit
Case 04-03774 Doc 42-9 Filed 02/21/06 Entere
. - bjts,B,-E Page-L2 of 27
- SK
Ur go

LAW OFFICES OF
Z ROLLIN J. SOSKIN & ASSOCIATES
9933 Lawler Avenue, Suite 312
Skokie, Illinois 60077-3703
Fax: (847) 674-8938
Phone: (847) 329-9991

TELECOMMUNICATIONS COVER SHEET
SSR VEMUNICVATONS COVER SHEET

TO: Eugene & Nicole Vicki & Bob

FAX NO.:__, (847) 266-1034. _ (847) 550-8061_-
FROM: Rollin J. Soskin

FAX NO.: (847) 674-8938 NUMBER OF PAGES

INCLUDING COVER SHEET: 5

“CLIENT: DATE: 11/19/98

ADDITIONAL COMMENTS:
. Gene, Nicole, Vicki & Bob:

Following is a revised draft of the Memorandum | have prepared. Any
Suggestions, changes, etc.?

IF ANY DIFFICULTY IS EXPERIENCED WITH THIS
TRANSMISSION, PLEASE CONTACT OUR OFFICE AT
(847) 329-9991,

PLEASE DELIVER IMMEDIATELY! "
THE PAGES COMPRISING THIS FACSIMILE TRANSMISSION CONTAIN

CONFIDENTIAL INFORMATION. THIS INFORMATION IS INTENDED SOLELY FOR
USE BY THE INDIVIDUAL OR ENTITY NAMED AS THE RECIPIENT HEREOF. IF

IS PROHIBITED. IF YOU HAVE RECEIVED THIS TRANSMISSION IN ERROR,
PLEASE: NOTIFY US BY TELEPHONE IMMEDIATELY SO WE MAY ARRANGE TO
RETRIEVE THIS TRANSMISSION AT NO COST TO You.

03176

16:44:14 Desc Exhibit
- Doc 42-9 Filed 02/21/06 Entered 02/21/06 |
Case 0408778 Exhibits B-E Page 13 of 27

ue

MEMORANDUM OF AGREEMENT

Vicki Esralew, Robert Aren (hereinafter collectively referred to as "Esralew),
Eugene Terry, Nicole Terry and Terry's Company, Inc. (hereinafter collectively referred -
to as “Terry"), Rollin J. Soskin (hereinafter referred to as "Soskin"), and Kids Count
Entertainment, Inc. and Kids Count Entertainment, L.L.C. (hereinafter collectively
referred to as "Kids Count") have agreed as follows: . n ay

1. Terry will invest $200,000 to $250,000 as Decembg 1998 through
February, 1999 cash flow shall require. Terry's Company, Inc. 4 ‘purchase ‘the neu.
inventory and sell it to Kids Count as ordered, at a price that provides a 10% per -
annum return on the funds invested in inventory. The balance of the investment. by
Terry will be a loan to Kids Count at the rate of 10% interest. A financing statement
will be filed with the Secretary of State in order to provide protection under the .
Uniform Commercial Code with respect to Terry's investment; secured by the assets of
Kids Count. The primary purpose of Terry's investment is to fund creation of.
commercials, purchase of air time and manufacture of required inventory.

2. In addition to the investment described in paragraph 1, Terry will deposit
‘ the sum of $27,000 into a bank account in the name of Kids Count. This portion of
Terry's investment (the "receivable loan") is in the form of a purchase from Kids Count
of certain receivables due trom Discovery Toys - $12,855 scheduled to be received in
December, and $14,145 of the $18,000 scheduled to be received in February. -
Immediately upon receipt, the instruments of payment of such amounts, or any portion -
. , . See The (ww
thereof, shall be gee eee, ena tow over to Terry without deposit iby Kids Count. S|
3. A new bank account at LaSalle Bank shall be created in the name of
Kids Count Entertainment, L.L.C. into which. Terry shall deposit the receivable loan
on of his investment which will be treated as a loan to the Kids Count.
Disbursements from such account shall be made only upon two signatures as follows:
one signature to be either Eugene Terry, Nicole Terry, or Rollin J. Soskin; and one
Signature to be either Vicki Esralew or Robert Aren. All receipts of Kids Count,
regardless of source, shall be deposited into such bank account. , *

4. It is anticipated that the receivable loan from Terry and collections from
December sales will be sufficient to cover overhead. From such amounts, Esralew

CSR Ey
06 16:44:14 Desc Exhibit
- Doc 42-9 Filed 02/21/06 Entered 02/21/
Case Of-08778 Exhibits B-E Page 14 of 27

‘

MEMORANDUM OF AGREEMENT - page 2

5. From the receivable loan and subsequent sales, Kids Count shall pay to —

6. As part of the consideration for Terry's loan, Terry shall have a five (5)
year option to purchase ten (10%) percent of Kids Count Entertainment, L.L.C. for a
price of $250,000. This Sum may be paid by cash and/or cancellation of the Terry's .
loans: to the company. . For this purpose; the unpaid portion of Terry's investment in
inventory may be treated as part of Terry's loan upon transfer: of any unpurchased © °
inventory to the Kids Count. In the ‘event of a refinancing in excess of two million
dollars or recapitalization of Kids Count with new value in excess of two million dollars
Kids Count may demand that Terry. exercise or waive his option within cre-headred

nine Cae days of notice.
hinehy 8°} y

7. As part of the consideration to Terry and to Soskin, Soskin shall
immediately receive a one (1%) percent interest in Kids Count Entertainment, L.L.C.
and shall have a five (5) year option to purchase eight (8%) percent of Kids Count
Entertainment, L.L.C. for the sum of $200,000. In the event of a refinancing in excess
of two million dollars or recapitalization of Kids Count with new value in excess of two
million dollars Kids Count may demand that Soskin exercise or waive his option within
ty (120) days of notice,
alneh, (40) o

8. In addition to the interest and the option granted to Soskin above, Soskin
Shall immediately receive a one (1%) percent interest as incentive and in lieu of fees
. for services to Kids Count, whether as attorney, employee, or otherwise, in-excess of  ~
the agreed upon $4,000 per month set forth in paragraph 5 above, for the period from
'--December 1, 1998 through such time as the salaries and compensation. of Esralew.
-and Soskin are reviewed, based upon company performance, but in no event shall
such period of "free excess" services by Soskin extend beyond May 31, 1999. itis
understood and agreed that Soskin will not work exclusively for Kids Count and has
other business interests, including a law practice. Soskin Shall not be required to
Spend in excess of sixty (60) hours per month during such period without additional
_ compensation.

t

. 9. It is agreed that any of the following actions shall require the unanimous
consent of Esralew, Terry and Soskin:

(a) incurring of any new debt beyond normal trade payables;
(b) issuance of any new stock or Security or other interest convertible
in to an ownership interest in Kids Count;
6:44:14 Desc Exhibit
-03774 Doc 42-9 Filed 02/21/06 Entered 02/21/06 1
Case 04 Exhibits B- E Page 15 of 27

MEMORANDUM OF AGREEMENT - page 3

(c) sale or transfer of any interest in Kids Count owned by Esralew or
Aren to anyone other than Esralew, Aren, Soskin or Terry or to.
Kids Count, without first offering such interest to Terry and Soskin
upon the same terms and conditions as are offerred by any:
proposed transferee.

10. In the event of any sale or transfer by Kids Count or Esralew of any
shares in Kids Count Entertainment, Inc. or Kids Count Entertainment, L.L.C., which
results in Esralew owning less than 51% of Kids Count, Terry and Soskin shall have
the right to "tag along" on. @.pro-rata basis at a price equal to the price at which

Esralew's shares or interest are sold, and Esralew shall have the right to "bring-along":: - - « :

Terry and Soskin on a pro-rata basis at a price equal to the price at which Esralew's
shares or interest are sold. po ,

11. Each party hereto has made such investigation of the facts and
circumstances and the condition of Kids Count and of the other parties, and has
engaged such attorneys, accountants, or other professionals as they have determined
in their own discretion to be necessary or prudent in the circumstances. Esralew,
Terry, and Kids Count all hereby waive any actual or apparent conflict of interest
resulting from the participation of Soskin in bringing Esralew, Aren and Kids Count *
together with the.Terrys, or from the services of Soskin to,.by or in regard to Kids -.
Count, Terry and Esralew, or any of them, and from the representations made by any
of the partiews hereto to the others in order to induce them to enter into this
agreement, and after due consideration, the parties agree to hold Soskin harmless —
and idemnified against any and all loss, cost and damages, including reasonable -
attorney's fees, resulting from any claims that Soskin represented one party or the

_ other or was subject to a conflict of interest as between any of the parties to this
._, _ agreement, or that any party made any material misrepresentation with respect to the
__, transactions herein contemplated. - oT

12. The parties agree to meet not less often than every fourteen (14) days to

. Teview sales, inventory levels, cash position and other data relevant to Kids Count.

- 18. The parties agree that because time is short and the investment of. Terry
is essential to Kids Count's chances of success, in large part as a result of the desire
to have commercials on the air in time to take advantage of the Christmas gift season,
this transaction is being documented by this simple memorandum rather than by all of
the legal documents which this agreement contemplates. The parties agree to enter
into shareholder's agreements, option agreements, and other contracts and legal
documents as may be necessary, containing the provisions which are set forth herein
(in addition to any other items ag to which the parties may agree). The parties agree ot
to attempt to complete all such documentation by February 28, 1999. , ce

or wstwnary

CoRVS
6:44:14 Desc Exhibit
e 04-03774 Doc 42-9 Filed 02/21/06 Entered 02/21/06 1
case © Exhibits B-E Page 16 of 27

MEMORANDUM OF AGREEMENT - page 4

14. The parties agree that the operating agreement of the limited liability
company shall also be amended to reflect the provisions hereof, and it is agreed that
Soskin, Esralew, Aren, and either of the Terrys shall be directors of Kids‘Count. In
the event that Robert Leeper should be made a director, both of the Terrys shall be ~ .
directors.

15.  Esralew and Kids Count represent that the ownership of Kids Count
~ Entertainment, L.L.C. is as follows: Robert Leeper - five (5%) percent; Harris
_ Associates - one (1%) percent; Kids Count Entertainment, Inc. - ninety-four (94%)
" (Kids Count Entertainment, Inc. is owned 100% by Esralew-and/or trusts for their -:.
~*,, Children). . Esralew and. Kids Count represent that after this Memorandum of
Agreement is signed, the ownership of Kids Count Entertainment, L.L.C. will be as
follows: Harris Associates - one (1%) percent; Robert Leeper - five (5%) percent; ©.
Rollin J. Soskin - two (2%) percent; and Kids Count Entertainment, Inc. - ninety-two-
(92%), subject.to the rights: of Terry and Soskin to acquire the additional percentages —
set forth herein from Kids Count Entertainment, Inc., from Esralew, or from Kids Count
_ Entertainment, L.L.C. .

16. Esralew and.Kids Count represent that the total debt of Kids Count
Entertainment consists of the following: Jim Terra - $75,000; Harris Bank - $150,000;
First National Bank - $73,933.34; Hudsucker Partners (Irving Harris) -.$325,000; Vicki. ..
Esralew - pus rae G0; Feels Good Partners - $50,000; Steve Santowski'- $75,000;
Miscellanegus trade payables - $33,000 (includes $15,000 to Aultschuler, Melvoin &

Glasser). 4 9b, V5;

17. Acceptance by Esralew, Aren and Kids Count of the benefit of the
services of Soskin and/or of the deposit of funds and/or the receipt of other benefits -
from Terry shall constitute their acceptance of all of the foregoing terms. -

WHEREFORE, the parties have set their hands this . day of November,

1998.
_ Kids Count Entertainmertt, Inc. Kids Count Entertainment, L.L.C.
By: _ By:

Vicki Esralew, President Vicki Esralew, Manager

Vicki Esralew Robert Aren

Rollin J. Soskin
Eugene Terry _ Nicole Terry

+ E8360
“ Case 04, -03774 Doc 42-9 Filed 02/21/06 Entered 02/21/06 16:44:14 Desc Exhibit
ow Exhibits B-E Page 17 of 27 _
, oh ys ? '
MEMORANDUM OF AGREEMENT

¢

Vicki Esralew, Robert Aren (hereinafter collectively referred to as "Esralew),
Eugene Terry, Nicole Terry and Terry's Company, Inc. (hereinafter collectively referred.
‘to as “Terry"), Rollin J. Soskin (hereinafter referred-to as "Soskin"), and Kids Count
Entertainment, Inc. and Kids Count Entertainment, L.L.C. (hereinafter collectively.

_ referred to as "Kids Count") have agreed as follows: .

1. Terry will invest $200,000 to $250, 000 as December, 1998 through
. February, 1999 cash flow shall require. Terry's Company; Inc. may purchase thenew .° .
_ inventory arid sell it to Kids Count as ordered, at- “a price that provides a 10% per

annum return on the funds invested in inventory. The balance of the investment by..
Terry will be a loan to Kids Count at the rate of 10% interest. . A financing. statement will ©
" be filed with the Secretary of State in order to provide-protection under the Uniform -
Commercial Code with respect to Terry's investment, secured by the assets of Kids. -
- Count. The primary purpose of Terry's investment is to fund creation of commercials,
. purchase of air time and manufacture of required inventory.

2. In addition to the investment described in paragraph 4, Terry will | deposit
the sum of $27,000 into a bank account in the name of- Kids Count. ‘This: portion of ~~
Terry's investment (the "receivable loan") is in.the form of a purchase from Kids Count
of.certain receivables due from Discovery Toys - $12,855 schedilled to be received i in
December, and $14,145 of the $18,000 scheduled to be received in February. .

: Immediately upon receipt, the ir Raton of payment of such amounts, or any portion.
Ss thereof, shall be immediately: ‘ver to Terry without deposit by Kids Count. The
- original invoices.for the aforementioned Discovery Toy invoices shall.be marked

fy “ASSIGNED TO EUGENE TERRY” and delivered to Soskin to hold. |

ey 3. . Anew bank account at LaSalle Bank shall be created in the name of Kids |
Count Entertainment, L.L.C. into which Terry shall deposit the receivable loan and.that
partion of his.investment which will be treated as a loan to the Kids.Gount.-

' Disbursements in excess.of $2,000 from such account shall be made only upon two 7

signatures as follows: one signature to be either Eugene Terry, Nicole Terry, or Rollin
J. Soskin; and one signature.to be either Vicki Esralew or Robert Aren. All receipts of
Kids Count, regardless of sotrce, shall be deposited into such bank, account,

4. _ Itis anticipated that the receivable loan from Terry and collections from
December sales will be sufficient to cover overhead. From such amounts, Esraléw . —
shall be entitled to withdraw from Kids Count a sum not to exceed $12,000 per month,
which may be. taken, in Esralew’s sole discretion, as salary or repayment of the loans to _
Kids Count previously made by Esraléw or Aren, or in any combination thereof,

“provided that the total of gross compensation a and loan repayment shall not exceed
~ $12,000 per month.

Case,04-03774 Doc 42-9 Filed 02/21/06 Entered 02/21/06 16:44:14 Desc Exhibit
.%

¥,

o> -

compensation. oy

Exhibits B- E- Page 18 of 27.. .

2

MEMORANDUM OF AGREEMENT - page 2

5. From the receivable loan and subsequent sales, Kids Count shall pay to
Soskin a sum not to exceed $4,000 per month which Soskin may have paid as salary or
as legal fees to his law firm, in his sole discretion. To the extent not taken ina -
particular month, the sums payable to Esralew and Soskin shall accrue and be payable,
if and when cash flow allows. — |

6. As part of the consideration for Terry's loan, Terry shall have a-five (5)
year option to purchase ten (10%) percent of Kids Count Entertainment, L.L.C. for a
price of $250,000. This sum may be paid by cash and/or cancellation of the Terry's
loans to the company. For this purpose, the unpaid portion of Terry's investmentin -
inventory may be treated as part of Terry's loan upon transfer of any unpurchased _

-. Inventory to the Kids Count. In the event of a refinancing in excess of two million
. dollars or recapitalization of Kids Count with new. value in excess of two million dollars -

Kids Count may demand that Terry exercise or waive his option within ninety(90) days.

 Ofnoticea

7._- As part of the consideration to Terry and to Soskin, Soskin shall.

Trimediatelyyeceive a one (1%) percent interest in Kids Count Entertainment, LLC. . ~
_ ands

ve a five (5) year option to purchase eight (8%) percent of Kids Count.
Entertainment, L.L.C. for the sum: of $200,000. In the event of a refinancing in excess.

_ Of two million dollars or. recapitalization of Kids Count with new value.in excess of two .- -

. million dollars Kids Count may demand that Soskin exercise or waive his option within —

ninety (90) days of notice.

hours per month during such period without additional.

9. It is agreed that any of the following actions shall require the unanimous.

consent of Esralew, Terry and Soskin:

oe (a) _ incurring of any new debt beyond normal trade payables;

(b) issuance of any new stock or security or other interest convertible -
in to an ownership interest in Kids Count; - Se
wCase04- 03774 Doc 42-9 Filed 02/21/06 Entered 02/21/06 16:44:14 Desc Exhibit
Exhibits B-E .Page19o0f27- .

the e
s

"+ MEMORANDUM OF AGREEMENT - page 3

, ‘(c) — sale or transfer of any interest in Kids Count owned by Esralew or -
te Aren to anyone other than-Esralew, Aren, Soskin or Terry orto
‘Kids Count, without first offering such interest to Terry and Soskin

upon the same terms and conditions as are offerred by any .
proposed transferee.

10. In the event of any sale or transfer by. Kids Count or Esralew of any.
shares in Kids Count Entertainment, Inc. or Kids Count Entertainment, L.L.C., which .

results in Esralew owning less than 51% of Kids Count, Terry and Soskin shall have.the . -

"fight to "tag along” on 2 pro-rata basis at a price equal to the price at which Esralew’s ~

shares or interest are sold, and Esralew shall have the right to "bring-along" Terry and - -

Soskin on a pro-rata basis ata price equal to the price at which Esralew's shares 0 or. ..
interest are sold. .

. Bure A - Bach party hereto has made such investigation of the facts and .
Gadi circumstanées and the condition of Kids Count and of the other parties, andhas
engaged such attorneys, accountants, or-other professionals as they have determined.
* Dre __ intheir owndiscretion'to be necessary or prudent in the circumstances. Esralew,
hte Terry, and Kids Count all hereby waive any actual or apparent conflict of interest.”
- Tesulting from the participation of Soskin in bringing Esratew, Arerrand Kids. Count: .
together with the Terrys, or from the services-of Soskin to, by or in regard to Kids
‘ Count, Terry and Esralew, or-any-of them, and from the representations made by any of
the partiews hereto to the others-in order to.induce them to enter into this agreement,
and after due consideration, the parties agree to hold Soskin harmless and idemnified |
- against any:and all loss, cost and damages, including reasonable attorney's feds, —
~resulting from any claims that Soskin represented one party or the other or. was subject
_to a conflict of interest as between any of the parties to this agreement,.or that. any. _
party made any material misrepresentation with. respect to the transactions herein |
contemplated. .

12. The pariies agree to meet not less often than every: fourteen (14) days to
review sales, inventory levels; cash position. and other data.relevant to Kids Count

13. The parties agree that because time is short and the investment of Terry . -.
is essential to Kids Count's. chances of success, in large part'as a result of the desire to
have commercials on the air in time to take advantage of the Christmas gift season, this
transaction is being documented by this simple memorandum rather than by all of the
legal documents which this agreement contemplates. The parties agree to enter into
shareholder's agreements, option agreements, and other contracts and legal

ce documents as may be necessary or customary, containing the provisions which are set .
cs forth herein (in addition to any other items as to which the parties may agree). The -
Parties agree to attempt to complete.ail such documentation by February 28, 1999.

ett
. fee
Case 04-03774 Doc 42-9 Filed 02/21/06 Entered 02/21/06.16:44:14 Desc Exhibit.
“n = Exhibits B-E Page 20 of 27

wa?
.

MEMORANDUM OF AGREEMENT - page 4

. 14, The parties agree that the operating agreement of the limited liability
company shall also be amended to reflect the provisions hereof, and it is agreed that ao
.. Soskin, Esralew, Aren, and either of the Terrys shall be directors of Kids Count. Inthe-- ~
event that Robert Leeper should be made a director, both of the Terrys shall be
directors. 7

_ :15. . Esralew and Kids Count represent that the ownership of Kids Count -

- Entertainment, L.L.C. is as follows: Robert Leeper - five (5%) percent; Harris
Associates - one (1%) percent; Kids Count Entertainment, Inc. - nifiety-four (94%) (Kids -
Count Entertainment, Inc. is owned 100% by Esralew and/or trusts for their children). ..: -

- Esralew and Kids Count represent that after this Memorandum of Agreement is signed, . - -

~ the ownership of Kids Count Entertainment, L:L.C. will be as follows: ‘Harris Associates.

. = one (1%) percent; Robert Leeper -.five (5%) percent; Rollin J.-Soskin - two (2%) .
percent; and Kids Count Entertainment, Inc. - ninety-two (92%), subject to the rights of -- .

Terry and Soskin to acquire the additional percentages set forth herein from Kids Count. :

-Entertainment, Inc., from Esralew, or from Kids Count Entertainment, L.L.C.

. ... 16..  Esralew.and Kids Count represent that the total.debt (principal).of Kids
_ Count Entertainment consists. of the following: Jim Terra - $75,000; Harris Bank - --
- $150,000; First National Bank - $73,933.34; Hudsucker Partners (Irving Harris) -
$325,000; Vicki Esralew - $196.445; Feels Good Partners - $50,000; Steve Santowski.-

-$75,000; Foley & Lardner - $18,000; Citibank Visa - $9,600 (credit card used -

exclusively for Kids Count expenses; Miscellaneous trade payables - $33,000 includes’. . .-

$15,000 to Aultschuler, Melvoin & Glasser).

417. Esralew and Kids Count represent and warrant that the financial
' statements prepared as of October 20, 1998 are substantially true and correct except .

- 18. Absent subsequent agreement to the contrary, Vicki Esralew agrees that Z
_ all of her personal services, appearances, creative efforts, activities and products shall. .

be performed and or created for the exclusive benefit of Kids Count.

-. 19. itis understood dnd agreed that neither Soskini nor Terry shall be
personally liable for any debts of Kids Count or any personal debts of Esralew. ~
. 1998.

- Kids Count Entertainment, Inc.

Case 04-03774 Doc 42-9

Filed 02/21/06 Entered 02/21/06 16:44:14 Desc Exhibit
Mn r Exhibits B.-E Page 21 of 27

/_MEMORANDUM OF AGREEMENT - page 5

"shall constitute their acceptance of all of the foregoing terms.

WHEREFORE the parties have set their hands this Le day of November,

Kids Count Ent srtainment, LLC. :

- f.
£

_ ,CaseQ4:03774 _ J

74 _.Pac.42-9 _ Filed, 02/21/06 Entered 02/21/06 16:44:14 Desc Exhibit
Exhibits B- E “Page 22 of 27 _‘~ Cent ewe

Simm eee etme

"LAW OFFICES OF |
. ROLLIN J. SOSKIN & ASSOCIATES
9933 LAWLER AVENUE ¢ SUITE 312
SKOKIE, ILLINOIS 60077-3703
Fax (847) 674-8938
TELEPHONE (847) 329-9991

ome eo

. . oe
¢ COs ESe sweeter ememEne Heemee se 8

February 24, 1999

”” Mr. and ‘Mrs. Eugene Terry Mr. and Mrs. Robert Aren . -
Suite.21

: a : Long Grove, -linois
. ‘Highland Park, llinois 60035-2659 oe -¢

bob
Re: . Waiver of Agreement Terms - Kids Courit
Dear Nigole, Gene, Vicki and Bob:

+. Ag you are aware, Paragraphs 13 and 14 of our Agréement of November: 22,
* 1998, providdd, in pertinent part, that we would.enter into mora formal documentatidn

of our. relationship by February 28, 1999, .Based-on our recent discussions; andthd. .

"fact that we are.endeavoring to bring in additional equity participants, it is my:
_ understanding that we have agreed to put off-the expense and timd involved in . .
preparing and reviewing such documents, until such time as we.are more certain. }
' about the structure of Kids Count as it goes forward. with other Strategic parthers. |
Based theredn, it is my understanding that we alll agree to enter into such documents

fa the future, ‘while waiving any requirement of our existing Agreement that such;
documents be completed in the short run.

.. Qn a felated tonic, since the direct response TV campaign has not been. - |}
generaling kjcome as qhickly as had been hoped, tha Terrys haveibeen financing itfie ~
Company's gontinaad existence by purchasing its redeivabies. tt ig my! understanding

that all partids' agree, notwithstanding any specific décument! assigning'each new.
receivable, that all receivables now belong to the Terrys or Terry's Company as §;
applicable, and as they are collected ara to ba tumed: over in partial satisfaction of tha
Terry's receiyabla purchases. In the event that, from time to time, the Terrys allowithe
Compahy to:retain collected receivables, such retention shall net be deemed a waiver -.
of any fights! of the Terrys, but, in essence, a purchase by the Terrys of those -

* receivables poltectea by the Company subsequent to the receivables which have

already been purchased by the Terrys and/or assigned to them,

*

456 CeitralAvenie “0 _ 1738 Country Club Drive ( I
Boy :
: ° i &
|

010 0s 6 ae men a

9 tw enwe man ans .

. ‘oo
reece omememanmeu) 4
Sa ete

fares
Filed 02/21/06 Entered 02/21/06 16:44:14 Desc Exhibit

Cas = Z A _Rac 42-9. Vee me Wrenn e
Fase QaOaes Exhibits B- E~"Page 23 of 27"
. - oo, i , . _ , we : i

Mr. and :Mrs. Gene Terty

Mr. andiMrs. Robert Aren Cc og
February 24,l1999 - Page 2.
| PS

oo If the dbove accurately sets forth our understanding and agreement, please so
indicate iby signing the acknowledgement at the bottom of this letter and retuming the
Sama to:me ih the self-addressed envelope-enclosed-herewith for your convenience!

Voty truly yours,

- ebeety Rollin J. Soskin
ast | ; . * : . | j 2 |
: mo , - f : 2 pe Sy.
4 | Acknowledgement’ ! . ot

eo oe,
. ame omer se cemmen wg
e

The atlove accurately sets forth our understanding and agreément-and
_ Fepresents a yalid modification 10 ti Agreement dated November 32, 1998. .

°
z
3
s
t
$

- Dated: ey, 1999 OM. ce

‘Vicki Esralew

Wie 83100 hed Gan Bod

' Robert Aren t '
Februairy __, 1999 _
Nicole Terry |
bredry: ts 731 . wo ot
PE are tp |
Februaty i999. bo
, Rollin J. Soskin ,

| February. 1999” 5 Kigg Count Entertainment, Ine. and.
' Kids Count Entertainment, LLC.

. i >
. 3 . . 3
+t . “Pt
po By,
-
i . .

Vicki Esrdlew, as President and
as Manager, respectively .

TOTAL, P.@3
Doc 42-9 Filed 02/21/06 Entered 02/21/06 16:44:14 Desc Exhibit

Case 04-03774
os Exhibits B-E Page 240f27

a

. LAW OFFICES OF :
ROLLIN J. SOSKIN & ASSOCIATES.
--- 9933 LAWLER AVENUE ¢ SUITE 312 a
SKOKIE; ILLINOIS 60077-3703
FAX (847) 674-8938
"TELEPHONE (847) 329-9991

February 24, 1999

"Mr. and Mrs. Eugene Terry . "Mr. and Mrs. Robert Aren -

450 Central Avenue oo 1735. Country Club Drive os
Suite 214. Long Grove, Illinois 60047

Highland Park, Illinois 60035-2659

Re: - Waiver of Agreement Terms - Kids Count - -

>

_ Dear Nicole, Gene, Vicki and Bob: .

' AS you-are aware, Paragraphs 13 and 14 of our Agreement.of November 22,° ©
1998, provided, .in. pertinent part, that we would enter into.more formal documentation: ~
. ,Of our relationship by February 28, 1999. Based-on our recent discussions, and the -
fact that we. are.endeavoring to bring in additional equity participants, itis my -
understanding that we have agreed to put off the expense and time involved in
preparing and reviewing ‘such documents, until such time as we are more cartain .
. about the structure of Kids Count as it goes forward with other strategic ‘partners. |
-Based thereon, itis my understanding that we'ail agree to enter into such documents
_ in the future, while waiving any requirement of our existing Agreement that such
- documents be completed in the short run. oo,

Ona related topic, since the-direct response TV campaign has not been

" generating income as quickly as had been hoped, the Terrys have been financing tha

Company's continued existence by. purchasing its receivables. It is my understanding ~
. that all parties agree, notwithstanding any Specific document assigning each new. ~~
receivable, that all receivables now belong to the Terrys or Terry's Company as ,
applicable, and as they are collécted are to be turned over in partial satisfaction of the ~
- Terry's receivable purchases. In the event that, from time to time, the Terrys allow the
Company to retain collected receivables, such retention shall not be deemed a waiver .
. _ of any tights of the Terrys, but, in essence, a purchase by the Terrys of those
' .receivables collected by the Company subsequent to the receivables which have’
already been purchased by the Terrys and/or assigned to them.
_ Case 04-03774 Doc 42-9 Filed 02/21/06 Entered 02/21/06 16:44:14 Desc Exhibit
8 Exhibits B-E Page 25 of 27...

.
~ . © *
fa th yy Fr *
YoA v e -
“toy ot

Mr. and Mrs.-Gene Terry
Mr. and Mrs, Robert Aren
February 24, 1999 - Page 2.

If. the above accurately sets forth our understanding and agreement, please so
indicate by signing the acknowledgement at the bottom of this letter and retuming the
same to me in the self-addressed envelope prclosed herewith for your convenience.

truly yours,

~ Hollin J. Soskin

RUS/mt

Acknowledgement

The above accurately sets forth our understanding and agreement and -

- _-, fepresents a valid modification to the Agreement dated November 22, 1998. ©.

Dated: ‘February ___, 1999
| Vicki Esralew

February____, 1999 _
oo Robert Aren .

 February.__, 1999 leerisOe. Ra_~
, Nicole Terry
” February, i999 we (ery

(Rugene Terry

February___, 1999, _
CO Rollin J. Soskin

February. 1999 —“Kids Count Entertainment, Inc. and
Te ‘Kids Count Entertainment, L.L.C.

_ By:

Vicki Esralew, as President and -
as Manager, respectively -
Doc 42-9 Filed 02/21/06 Entered 02/21/06 16:44:14 Desc Exhibit

Case 04-03774
Exhibits B- E . Page 26 of 27

te

wee
one ts) wer wr 8

oa ey hls 4
i ee fy ie, 2 /
oo - . Law Offices of ,
Rollin J; Soskin & Associates
- oe _ Rollin J. Soskin.
_ -RachelA.Rupp |
August 13, 2001
Ms. Vicki Esralew -
Registered Agent, Kids Count Entertainment L.L.c. .
1735 Country Club Drive

Long Grove, Illinois 60047
Re: Kids Count Entertainment, L.L.c.

. Dear Ms. Esralew:
As a member of the above-captioned organization, I wish to examine the financial

and_ organizational records: “Please contact the undersigned: immediately to schedule a

mutually convenient: time to review these ‘documents within the next ten (4 0):.days. *

Rollin) Soskin, _

RJS:kbs

Aren/ArenEsra8-13-01

"& 9933 Lawler Avenue ° Suite 312 * Skokie, Illindis 60077-3706 » telanhana (AAT And Anas. 2-1, um. smamace cose
Case 04-03774 Doc 42-9 Filed 02/21/06 Entered 02/21/06 16:44:14 Desc Exhibit
Exhibits B-E -Page 27 of 27.

7

. ‘tea STATEMENT ns Sresareaa 19 aon titow tor Shee purncatie -unctorm Commer . . Otixer
| Cecnortat (tne Beara Fox ond eccheanteal et Prtyfeal and = * toate. Tre, rane org Oe
pepe CouNE  PNTERTAR CENT | Eugene Terry and|gerry’s | -
20, Box. . . Co: an ,?Inc.° wa fee” Fo, - (25/93: 5399 y
{ Buffalo Grove, IL 60089 | 450" Contzan Avene. -". “* eon oO Goh
oe Highland Park, II 60035.  BOSIL 10:57 su7itz2 FS

‘Accounts receivable, inventory, work in proc
equipment, supplier, furniture, fixtures. intel<.
{ ‘Jectual property, intangibles, including but |not
‘j. limited to patents trademarks and copyrights ).
4 “security deposits and all other assets, withdut
limitation. - : : “f-

4 { Tine Beatcrg viderent covers Ine totcrweng trove Io Berra] W property: . :

- “a .
99025 476 0
4 2 BS rrocca of Cottnarg oe atso comwee . . .
J - ‘Fed with Orice ot Sacrotiny of Scate of Wuncne, xe sone Boe Ene AIEENT pad .
Carton a rinerectiny Unley 96 cutired 8 UCCIO-105, . “boy Aa rt °

' (1) FRING OFFICER COPY-ALPHABETICAL |
SIRO PORT RIC W CENA POM COOL FONMLELOeELE pete

